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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:20−cr−00637
                                                           Honorable Manish S. Shah
Jeremiah Harris
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 3, 2021:


        MINUTE entry before the Honorable Manish S. Shah: as to Jeremiah Harris.
Telephone status hearing held and continued to 8/4/21 at 10:00 a.m. Time is excluded
until 8/4/21 under the Speedy Trial Act, without objection, to serve the ends of justice.
The delay is necessary to give the parties time for effective preparation, which includes
time for the ongoing review of discovery and continued investigation of the matter by the
defense. That delay outweighs the interests of the public and defendant in a speedy trial.
Notices mailed. (psm, )




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